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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

[N RE APPLICATION OF JULIO
MIGUEL ORLANDINI-AGREI)A AND
COMPANiA MINERA ORLANDINI Misc.Action No.
LTDA. FOR AN ORDER DIRECTING
DISCOVERY FROM GIBSON, DUNN &
CRUTCHER LLP PURSUANT TO
28 U.S.C. § 1782

 

 

[PROPOSED} ORDER

Upon consideration of the Petition for Discovery in Aid ot`a Foreign Proceeding Pursuant
to 23 U.S.C. § 1782 (the “Petition”), submitted by Petitioners }`ulio Miguei Oriandini~Agreda and
Coinpaiiia i\/[inera Orlandini Ltda., and all papers submitted in support thereof this Court finds
that (1) the statutory requirements of28 U.S.C. § 1782 are satistieci, and (2) the factors identified
by the United States Supreme Court in fatal Corp. v. Advcmced Mz`cro Devices, luc., 542 U.S. 241
(2004), Weigh in favor of granting the Petition. It is therefore

ORDERED that the Petition is granted, and that Petitioners are hereby authorized to serve
the subpoena annexed to the Petition as Exhibit A upon Gibson, Dunn & Crutcher LLP (“Gibson
Dunn”); and it is further

ORDERED that Gibson Dunn comply With such subpoena in accordance With and subject
to its rights under the Federal Rules ot`Civil Procedure and the Rufes of this Coui't.

SO ORDERED

Date:

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U.S.D.J.

 

